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                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION

IN RE:                                                     §
                                                           §          Case No: 20-35493
1960 FAMILY PRACTICE, PA                                   §
                                                           §          Chapter 7
          Debtor                                           §

                                  CREDITOR’S WITNESS/EXHIBIT LIST
                                                        [Ref. Doc. No. 106]

                                                               §
  FACT WITNESSES:                                              §       Judge: Rodriguez
    1. Yoni Gerber                                             §       Hearing Date: January 13, 2023 at 3:00 p.m.
    2. Ravishankar Mallapuram                                  §       Party Name: WFCM 2016-C34 Northwest
    3. Dr. Le                                                  §       Freeway
    4. WFMC Representative – Jose                              §       Attorney’s Name: Benjamin Lusky
    Bello                                                      §       Attorney’s Phone: 713-589-4822
    5. Eva Englehart                                           §
    6. Miriam Goott                                            §
    7. Johnie Patterson                                        §
    8. Michelle Friery                                         §
    9. Mahvish Khan                                            §
    10. Kimm Woods                                             §
    11. Elana Bakina                                           §
    12. Bernard Monderer                                       §
    13. Any Witness Called by Any                              §
    Other Party                                                §

                                                                       Nature of Proceeding: Objection to Claim
                                                                       No. 41 [Doc. No. 106]

Creditor reserves right to call additional witnesses.
                                                          EXHIBITS


   Ex. #                 Description                               Offered Objection    Admitted Disposition

      1     Debtor’s bank statements 7-2019

      2     Debtor’s bank statements 8-2019

      3     Business Records Affidavit

      4     Asset Purchase Agreement


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    5    Payment of $500k per APA

    6    Notice of Foreclosure

    7    Substitute Trustee’s Deed to WFCM
         (6-1-2021)
    8    Debtor’s Schedules

    9    Demonstrative Exhibit based on
         Debtor’s Schedules
   10    WFMC – POC

   11    Sale Order

   12    Complaint Filed by Trustee Against
         UMMC
   13    Answer filed by UMMC

   14    Claim Objection filed by UMMC
         11-16-2022
   15    Trustee’s Response to Claim
         Objection
   16    WMFC’s Response to Claim
         Objection
   17    UMMC Responses to
         Interrogatories – State Court
   18    UMMC Responses to RFA – State
         Court
   19    Debtor’s Responses to RFA from
         Landlord in State Court Litigation
         (Signed by Dr. Le)
   20    RFA from WFCM – Exhibit A

   21    RFA from WFCM – Exhibit B

   22    RFA From WFCM – Exhibit E

   23    RFA From WFCM – Exhibit F

   24    UMMC Responses to Discovery
         from Trustee (RFA)
   25    UMMC Responses to Discovery
         from Trustee (Interrogatories)
   26    11-2019 and 12-2019 Invoice Suite
         500
   27    11-2019 and 12-2019 Invoice Suite
         900
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   28    General Ledger from Landlord

   29    Lease Ledger from Landlord

   30    Expense General Ledger

   31    Gerber Law Firm Invoices

   32    Communication with brokers

   33    Covid Orders

   34    Houston Chronicle Articles (10-2-
         2020)
   35    Houston Chronicle Articles (6-2021)

   36    Email from Debtor 12-3-2019

   37    Deposition transcript of Ravi
         Mallapuram and Exhibits from
         deposition
   38    Dr. Le Deposition transcript 7-8-
         2022
   39    Dr. Le Deposition transcript 6-7-
         2022
   40    Dr. Le Deposition transcript 5-19-
         2022




         Rebuttal/Impeachment Exhibits

    1

    2

    3




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